                   Case 19-19994                  Doc          Filed 09/18/20 Entered 09/18/20 09:04:22                               Desc Main
   Fill in this information to identify the case:                  document Page 1 of 7
Debtor 1                 Ramon Sierra & Alice Carrasquillo
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Northern District of Illinois
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1919994
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             7
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           11/01/2020
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             1974.51
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      6 ____
                                                                    ____ 2 ____
                                                                            5 ____
                                                                                1

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

               No
            
            ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                                           901.83
                Current escrow payment: $ _________________                                                                       1048.15
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ✔
                 No
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
           CaseRamon
      Debtor 1
                        Sierra & Alice Carrasquillo
                  19-19994                 Doc FiledLast09/18/20  Entered 09/18/20
               ________________________________________________________
               First Name            Middle Name        Name
                                                                                     09:04:22
                                                                             Case number
                                                                                                     1919994
                                                                                                            Desc Main
                                                                                         (if known) ______________________

                                                    document Page 2 of 7
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Tavon Taylor
      ______________________________________________________________
      Signature
                                                                                      09/18/2020
                                                                                Date _______________




 Print:______________________________________________________________
        TAYLOR,TAVON                                                             VP Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
             Case 19-19994           Doc      Filed 09/18/20 Entered 09/18/20 09:04:22                      Desc Main
                                                  document Page 3 of 7
                        UNITED STATES BANKRUPTCY COURT
                                                        Northern District of Illinois


                                                    Chapter 13 No. 1919994
                                                    Judge: Jacqueline P. Cox

In re:
Ramon Sierra & Alice Carrasquillo
                                           Debtor(s).

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before September 21, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                             By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     Ramon Sierra & Alice Carrasquillo
                                     1907 S Home Ave

                                     Berwyn IL 60402



                                    By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     N/A




Debtor’s Attorney:                   By Court's CM/ECF system registered email address
                                     Glenda J. Gray
                                     Fernandez & Gray
                                     108 W. Madison - 2nd Floor

                                     Oak Park IL 60302


                                     By Court's CM/ECF system registered email address
                                     N/A




Trustee:                             By Court's CM/ECF system registered email address
                                     Tom Vaughn

                                     55 E. Monroe Street, Suite 3850

                                     Chicago IL 60603

                                                           _______________________________________________
                                                           /s/Tavon Taylor
                                                            VP Loan Documentation
                                                            Wells Fargo Bank, N.A.
             Case 19-19994              Doc        Filed 09/18/20           Entered 09/18/20 09:04:22 Desc Main
                                                      document
                                 Return Mail Operations                     Page 4 ofEscrow
                                                                                     7      Review Statement
                                 PO Box 14547
                                                                                          For informational purposes only
                                 Des Moines, IA 50306-4547
                                                                                          Statement Date:                              September 10, 2020
                                                                                          Loan number:
                                                                                          Property address:
                                                                                                1907 S HOME AVE
                                                                                                BERWYN IL 60402-1649


                                                                                          Customer Service
                                                                                                 Online                          Telephone
                                                                                                 wellsfargo.com                  1-800-340-0473
          RAMON A SIERRA
                                                                                                 Correspondence                  Hours of operation
          SILVIA OLIVENCIA                                                                       PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
          1907 HOME AVE                                                                          Des Moines, IA 50306
          BERWYN IL 60402-1649                                                                   To learn more, go to:
                                                                                                 wellsfargo.com/escrow


                                                                                                   We accept telecommunications relay service calls



PLEASE NOTE: If you are presently seeking relief (or have previously been granted
relief) under the United States Bankruptcy Code, this statement is being sent to you
for informational purposes only. The summaries below are based on the terms of the
loan and are provided for informational purposes only.
These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
will be enough money to make these payments. Once the review is complete, we send
the escrow review statement, also known as the escrow account disclosure statement.
                                                                                             The escrow account has a shortage of
Here's what we found:
     • Required Minimum Balance: The escrow account balance is projected to                              $1,123.74
        fall below the required minimum balance. This means there is a shortage.

     • Payments: As of the November 1, 2020 payment, the contractual portion of
        the escrow payment increases.



  Part 1 - Mortgage payment

       Option 1                  Pay the shortage amount over 12 months
                                  Previous payment through New payment beginning with
                                  10/01/2020 payment date   the 11/01/2020 payment
                                                                                                Option 1: No action required
 Principal and/or interest                  $926.36                   $926.36

 Escrow payment                             $901.83                 $1,048.15               Starting November 1, 2020 the new contractual
 Total payment amount
                                                                                            payment amount will be $1,974.51
                                         $1,828.19                 $1,974.51

       Option 2                  Pay the shortage amount of $1,123.74
                                  Previous payment through New payment beginning with
                                  10/01/2020 payment date   the 11/01/2020 payment
                                                                                                Option 2: Pay shortage in full
 Principal and/or interest                  $926.36                   $926.36

 Escrow payment                             $901.83                   $954.50               Starting November 1, 2020 the new contractual
 Total payment amount                                                                       payment amount will be $1,880.86
                                         $1,828.19                $1,880.86




                                                      See Page 2 for additional details.


                                        Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                        States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                        Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                        payments, please contact your attorney or the Trustee’s office before directly sending any
                                        amounts relating to this escrow shortage

                                                                  If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                  and mail it along with a check for $1,123.74 to the address that appears on this coupon.
  RAMON A SIERRA
  SILVIA OLIVENCIA                                                This payment must be received no later than November 1, 2020.


              Wells Fargo Home Mortgage
              PO Box 10394
              Des Moines, IA 50306-0394




        708                            0 10 02 00180743 00188086 00293117 00112374 2
                                                                                                                                             Page 2 of 3
               Case 19-19994              Doc           Filed 09/18/20 Entered 09/18/20 09:04:22                       Desc
                                                                                                                      Loan    Main
                                                                                                                           Number:
                                                            document Page 5 of 7
     Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $6,833.64. For the coming year, we expect the amount paid from escrow to be
$11,453.95.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                      11/18 - 10/19      08/19 - 07/20 05/20 - 09/20      11/20 - 10/21
                                                                                                                      # of               escrow
                                        (Actual)           (Actual)      (Actual)          (Projected)
                                                                                                                     months              amount

Property taxes                             $8,400.57         $8,747.22       $4,126.91       $8,747.22        ÷         12       =          $728.94
Property insurance                          $2,172.18        $2,706.73       $2,706.73       $2,706.73        ÷         12       =          $225.56
Total taxes and insurance                 $10,572.75         $11,453.95      $6,833.64      $11,453.95        ÷         12       =         $954.50
Escrow shortage                               $93.38             $0.00         $119.20       $1,123.74        ÷         12       =           $93.65**
Mortgage insurance                           $789.12           $386.28          $0.00            $0.00        ÷         12       =            $0.00

Total escrow                              $11,455.25        $11,840.23       $6,952.84      $12,577.69        ÷         12       =        $1,048.15


**
    This amount is added to the payment if Option 1 on page 1 is selected.


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                  (Calculated in Part 3 - Escrow account projections
Lowest projected escrow balance July, 2021                                      $124.64           table)

Bankruptcy adjustment‡                                                 +       $660.62

Minimum balance for the escrow account†                                -     $1,909.00            (Calculated as: $954.50 X 2 months)


Escrow shortage                                                        =     -$1,123.74


‡
 This adjustment of $660.62, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
contract to determine the cash reserve.
             Case 19-19994                Doc          Filed 09/18/20 Entered 09/18/20 09:04:22                                    Desc Main                Page 3 of 3
                                                           document Page 6 of 7                                                 Loan Number:



  Part 3 - Escrow account projections
Escrow account projections from November, 2020 to October, 2021
                                          What we
               Payments to                expect to                                                                    Projected escrow        Balance required
Date             escrow                    pay out         Description                                                     balance              in the account
Oct 2020                                                   Starting balance                                                 $2,988.09                    $4,772.45
Nov 2020            $954.50                     $0.00                                                                       $3,942.59                    $5,726.95
Dec 2020            $954.50                     $0.00                                                                       $4,897.09                    $6,681.45
Jan 2021            $954.50                     $0.00                                                                        $5,851.59                   $7,635.95
Feb 2021            $954.50                  $4,620.31     COOK COUNTY (999)(4WR)                                            $2,185.78                   $3,970.14
Mar 2021            $954.50                     $0.00                                                                       $3,140.28                    $4,924.64
Apr 2021            $954.50                     $0.00                                                                       $4,094.78                    $5,879.14
May 2021            $954.50                     $0.00                                                                       $5,049.28                    $6,833.64
Jun 2021            $954.50                     $0.00                                                                       $6,003.78                    $7,788.14
Jul 2021            $954.50                  $4,126.91     COOK COUNTY (999)(4WR)                                            $2,831.37                   $4,615.73
Jul 2021               $0.00                 $2,706.73     FARMERS                                                            $124.64                $1,909.00
Aug 2021            $954.50                     $0.00                                                                        $1,079.14                   $2,863.50
Sep 2021            $954.50                     $0.00                                                                       $2,033.64                    $3,818.00
Oct 2021            $954.50                     $0.00                                                                       $2,988.14                    $4,772.50

Totals           $11,454.00                 $11,453.95



  Part 4 - Escrow account history
Escrow account activity from May, 2020 to October, 2020
                       Deposits to escrow                    Payments from escrow                                                        Escrow balance
   Date       Actual      Projected Difference           Actual   Projected Difference                 Description           Actual         Projected Difference
May 2020                                                                                           Starting Balance           -$123.36       $5,190.57      -$5,313.93
May 2020       $945.45         $891.90        $53.55        $0.00             $0.00       $0.00                                $822.09      $6,082.47       -$5,260.38

Jun 2020       $945.45         $891.90        $53.55     $2,706.73            $0.00   $2,706.73    FARMERS                    -$939.19       $6,974.37      -$7,913.56

Jul 2020       $881.07         $891.90       -$10.83     $4,126.91     $3,910.29        $216.62    COOK COUNTY (999)(4WR)   -$4,185.03      $3,955.98       -$8,141.01

Jul 2020         $0.00           $0.00         $0.00        $0.00        $2,172.18    -$2,172.18   FARMERS                  -$4,185.03       $1,783.80      -$5,968.83

Aug 2020       $881.07         $891.90       -$10.83        $0.00             $0.00       $0.00                             -$3,303.96       $2,675.70      -$5,979.66

Sep 2020      $5,390.22        $891.90     $4,498.32        $0.00             $0.00       $0.00                              $2,086.26      $3,567.60       -$1,481.34
(estimate)

Oct 2020       $901.83         $891.90         $9.93        $0.00             $0.00       $0.00                              $2,988.09      $4,459.50        -$1,471.41
(estimate)

Totals        $9,945.09       $5,351.40    $4,593.69     $6,833.64     $6,082.47        $751.17




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Case 19-19994   Doc   Filed 09/18/20 Entered 09/18/20 09:04:22   Desc Main
                          document Page 7 of 7
